MANDATE
   Case 1:14-cv-06601-PKC-CLP Document 266 Filed 02/14/23 Page 1 of 50 PageID #: 8548




                           UNITED STATES COURT OF APPEALS
                                      FOR THE
                                   SECOND CIRCUIT
            At a Stated Term of the United States Court of Appeals for the Second Circuit, held at the
     Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on the
     5th day of January, two thousand twenty-three,

     Before:     Dennis Jacobs,
                 Richard J. Sullivan,
                        Circuit Judges,
                 Gary R. Brown,
                        District Judge. 1
     _________________________________________

     Charlotte Freeman, for the Estate of Brian S.
     Freeman, Kathleen Snyder, Randolph Freeman,            JUDGMENT
     G.F., a minor, I.F., a minor, Danny Chism, Linda
     Falter, Russell Falter, for the Estate of Shawn O.     Docket No. 19-3970
     Falter, Shannon Millican, for the Estate of
     Johnathon M. Millican, Mitchell Millican, Billy
     Wallace, Stefanie Wallace, D.W., a minor, C.W,
     A.W., a minor, Tracie Arsiaga, Cedric Hunt, Sr.,
     Robert Bartlett, Shawn Bartlett, Lisa Ramaci,
     Isabell Vincent, Charles Vincent, Gwendolyn
     Morin-Marentes, for the Estate of Steve Morin, Jr.,
     E.M., a minor, Audrey Morin, Steve Morin, Amy
     Lynn Robinson, Floyd Burton Robinson, for the
     Estate of Jeremiah Robinson, Deborah Noble, for
     the Estate of Charles E. Matheny, IV, Charles E.
     Matheny, III, Silver Farr, Patrick Farr, for the
     Estate of Clay P. Farr, Rayanne Hunter, W.H., a
     minor, T.H., a minor, Fabersha Flynt Lewis,
     Lorenzo Sandoval, Sr., for the Estate of Israel
     Devora-Garcia, Lorenzo Sandoval, Jr., H. Joseph
     Bandhold, Donald C. Bandhold, Nanette Saenz, for
     the Estate of Carlos N. Saenz, Juan Saenz, John
     Vacho, for the Estate of Carol Vacho, for the Estate
     of Nathan J. Vacho, Ashley Vacho, Jeanette West,
     for the Estate of Robert H. West, Shelby West,
     Donna Engeman, Suzzettee Lawson, for the Estate
     of Isaac S. Lawson, C.L., a minor, Judy Ann
     Crabtree, Ronald Wayne Crabtree, Debra Wigbels,
     Ronald William Crabtree, Judy Huenink, Sean

     1
      Judge Gary Brown, of the United States District Court for the Eastern District of New York,
     sitting by designation.


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  Slaven, Chastity Dawn Slaven, Nicole Landon,
  Misti Fisher, Fred Frigo, Lynn Forehand, Lance
  Haupt, Rhonda Haupt, Tifany Haupt, Sabrina
  Cumbe, David W. Haines, Dawn Haines, C.H., a
  minor, Sangsoon Kim, Michelle Kim, Seop Steve
  Kim, for the Estate of Jang H. Kim, Helen Fraser,
  Richard Fraser, for the Estate of David M. Fraser,
  Tricia English, N.W.E., a minor, N.C.E., a minor,
  A.S.E., a minor, Todd Daily, for the Estate of
  Shawn L. English, Philip S. Ford, Linda Gibson,
  John Gibson, Denise Blohm, Jeremy Blohm,
  Joanne Gutcher, Tracy Anderson, Jeffrey
  Anderson, Anastasia Fuller, A.F., a minor, Anne F.
  Harris, Paul D. Harris, Hyunjung Glawson,
  Yolanda M. Brooks, Curtis Glawson, Sr., Ryan
  Sabinish, Ann Christopher, for the Estate of Kwesi
  Christopher, D.J.F., a minor, Ava Tomson, for the
  Estate of Lucas V. Starcevich, Richard Tomson,
  Bradley Starcevich, Glenda Starcevich, Ariana
  Reyes, Trenton Starcevich, Karen Funcheon, for
  the Estate of Alexander J. Funcheon, Robert
  Funcheon, Holly Burson-Gilpin, for the Estate of
  Jerome Potter, Nancy Umbrell, Mark Umbrell,
  Nancy and Mark Umbrell for the Estate of Colby J.
  Umbrell, Ilene Dixon, Shelley Ann Smith, William
  Farrar, Sr., for the Estate of William A. Farrar,
  Tonya K. Dressler, Ardith Cecil Dressler, Melissa
  Dressler, Elizabeth Brown, for the Estate of Joshua
  D. Brown, Marian Brown, Wayne Brown, Danielle
  Sweet, for the Estate of Ryan A. Balmer, A.B., a
  minor, G.B., a minor, Donna Kuglics, for the Estate
  of Matthew J. Kuglics, Les Kuglics, Emily Kuglics,
  Sylvia Johnson Spencer, Raymond Nigel Spencer,
  Sr., John D. Lamie, Paula C. Bobb-Miles, for the
  Estate of Brandon K. Bobb, Johnny Javier Miles,
  Sr., J.J.M., Jr., a minor, Racquel Arnae Bobb Miles,
  Ursula Ann Joshua, Brittany Marionique Joshua,
  Ashley Gudridge, Marion Crimens, Timothy W.
  Elledge, Christopher Levi, Brenda Habsieger,
  Michael Habsieger, Jacob Michael Habsieger, Kelli
  D. Hake, for the Estate of Christopher M. Hake,
  Denice York, Russel York, Jill Hake, Peter Hake,
  G.H., a minor, Maria E. Calle, Kim Miller, Walter
  Bailey, Cassandra Bailey, Kacey Gilmore, Terrell
  Gilmore, Jr., Michelle Klemensberg, for the Estate
  of Larry R. Bowman, Harry Pickett, E.C.R., a
  minor, Rachel M. Gillette, Kousay Al-Taie, for the
  Estate of Ahmed Al-Taie, Adam G. Stout, Rebekah
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  A. Coldewe, Scott Hood, Patricia Smith, Kathy
  Stillwell, for the Estate of Daniel Crabtree, Michael
  Smith, Chad Farr, Jacqueline A. Smith, R.J.S., a
  minor, David Hartley, for the Estate of Jeffrey
  Hartley, Linda Pritchett, Allen Swinton, Daniel
  Fritz, Temika Swinton, Marlynn Gonzales, T.S., a
  minor, Julie Chism, T.B., a minor, Kari Carosella,
  Mary Jane Vandegrift, William Parker, Scott
  Lilley, Pam Marion, Kyshia Sutton, Donnie
  Marion, Jason Sackett, Paula Menke, Robert
  Canine, Daniel Menke, S.J.S., a minor, Matthew
  Menke, Adam Wood, Nichole Lohring, Rosemarie
  Alfonso, Anna Karcher, K.B., a minor, Anastasia
  Fuller, for the Estate of Alexander H. Fuller,
  Michelle Benavidez, for the Estate of Kennith W.
  Mayne, Dan Dixon, for the Estate of Ilene Dixon,
  Daniel Benavidez, Sr., Dan Dixon, for the Estate of
  Robert J. Dixon, Christina Biederman, Cynthia
  Delgado, Daniel Benavidez, Jr., Kynesha
  Dhanoolal, Jennifer Morman, Merlese Pickett,
  Christopher Miller, John Vandegrift, Angie
  Jackson, Megan Marie Rice, Trina Jackson, Nancy
  Fuentes, for the Estate of Daniel A. Fuentes, S.J., a
  minor, Noala Fritz for the Estate of Lyle Fritz,
  Gregory Bauer, Noala Fritz, Theresa Davis, Tiffany
  M. Little, Linda David, for the Estate of Timothy
  A. David, Michelle Klemensberg, Michael David,
  Kousay Al-Taie, Donna Lewis, Timothy Karcher,
  Kenneth J. Drevnick, Elizabeth Chism, for the
  Estate of Jonathan B. Chism, Tonya Lotto, Tabitha
  McCoy, for the Estate of Steve A. McCoy, Jerry L.
  Myers, Kathy Stillwell, Theresa Hart, Roberto
  Andrade, Sr., Wayne Newby, Robi Ann Galindo,
  Veronica Hickman, Ryanne Hunter, for the Estate
  of Wesley Hunter, David Eugene Hickman, Debra
  Levi, Devon Fletcher Hickman, Cortez Glawson,
  Rebecca J. Oliver, Linda Jones, J.L., a minor,
  Armando Fuentes, Wood Megan, Sean Elliott,
  Gilbert Arsiaga, Jr., Edna Luz Burgos, Adrian
  McCann, Erik Roberts, Frank Lilley, N.T., a minor,
  Harry Riley Bock, Colin Roberts, Jill Ann Bock,
  Robin Roberts, Brett Coke, Chastity Dawn Laflin,
  M.C., a minor, T.M., a minor, Meghan Parker-
  Crockett, Keri Cotton, Janet Jones, Julio Fuentes,
  Wesley Williamson, Daniel C. Oliver, J.L., a
  minor, Travis Gibson, Debbie Beavers, George J.
  White, Eric Levi, Johnny Washburn, Dan Dixon,
  Dakota Smith-Lizotte, R.N.R., a minor, George
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  Arsiaga, John McCully, Hathal K. Taie, James
  Smith, C.F., a minor, Anthony Alderete, Amanda
  B. Adair, Michael J. Miller, Nicholas Baumhoer,
  Steve Morin, Sr., Kimberley Vesey, Zachary Hake,
  Cassie Collins, George D. White, Cara Roberts,
  M.T., a minor, Stephanie McCully, T.F., a minor,
  Terrel Charles Bartlett, Cory Smith, A.B., a minor,
  Evan Kirby, Judy Huenink, for the Estate of
  Benjamin J. Slaven, Carrol Alderete, B.D., a minor,
  Nancy Fuentes, John Vandegrift, for the Estate of
  Matthew R. Vandegrift, D.J.F., a minor, Cynthia
  Delgado, for the Estate of George Delgado,
  Mackenzie Haines, Natalia White, Cynthia
  Thornsberry, K.W., a minor, Megan Marie Rice,
  for the Estate of Zachary T. Myers, R.M., a minor,
  Stephanie Gibson Webster, Christina Smith,
  Debbie Smith, Jeffrey D. Price, Cassie Smith,
  Harry Cromity, James Craig Roberts, Marvin
  Thornsberry, L.T., a minor, Skylar Hake, Vivian
  Pickett, Andrew Tomson, Flora Hood, Patricia
  Montgomery, Patricia Arsiaga, for the Estate of
  Jeremy Arsiaga, Don Jason Stone, Matthew
  Arsiaga, Alesia Karcher, Lawrence Kruger, Audrey
  Karcher, Thomas Smith, Shaylyn C. Reece,
  Andrew Lucas, John Sackett, Shaula Shaffer, Noala
  Fritz, for the Estate of Jacob Fritz, Shyanne Smith-
  Lizotte, Megan People, Nathan Newby, R.M., a
  minor, Tony Gonzales, Katherine McRill-Fellini,
  Victoria Denisse Andrade, Kristy Kruger, Joedi
  Wood, Austin Wallace, Tammy Vanderwaal,
  Angelica Andrade, Brian Neuman, Esther Wolfer,
  Samantha Tomson, Matthew Lilley, Bryan
  Montgomery, Angel Munoz, Kemely Pickett,
  Mariah Simoneaux, James Canine, Vanessa Chism,
  A.K., a minor, Raymond Montgomery, Donna
  Engeman, for the Estate of John W. Engeman,
  Carol Kruger, Nawal Al-Taie, Megan Smith,
  Leonard Wolfer, Tim Lucas, David Noble, Marsha
  Novak, Emily Levi, Tony Wood, E.C.R., a minor,
  Donna Lewis, for the Estate of Jason Dale Lewis,
  Kierra Glawson, Ethan Fritz, Stephanie Howard,
  Russell C. Falter, Kynesha Dhanoolal, for the
  Estate of Dayne D. Dhanoolal, Douglas Kruger,
  L.M., a minor, Brian Coke, Preston Shane Reece,
  Jean Mariano, A.L.R., a minor, Cassie Collins, for
  the Estate of Shannon M. Smith, G.L., a minor,
  Erika Neuman, Michael Lucas, Calvin Canine,
  Dixie Flagg, Bashar Al-Taie, Marjorie Falter,
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  Jolene Lilley, Victoria Pena Andrade, Tiffany M.
  Little, for the Estate of Kyle A. Little, Elizabeth
  Chism, Tamara Runzel, K.L., a minor, Marlen
  Pickett, Tabitha McCoy, Shilyn Jackson, Kimberlee
  Austin-Oliver, Sylvia Macias, Merlese Pickett, for
  the Estate of Emmanuel Pickett, David Lucas,

              Plaintiffs - Appellants,

  v.

  HSBC Holdings PLC, HSBC Bank PLC, HSBC
  Bank Middle East Limited, HSBC Bank USA,
  N.A., Barclays Bank PLC, Standard Chartered
  Bank, Royal Bank of Scotland, N.V., Credit Suisse,
  Bank Saderat PLC, John Does, 1-50,
  Commerzbank AG,

            Defendants - Appellees.
  _________________________________________

          The appeal in the above captioned case from a judgment of the United States District
  Court for the Eastern District of New York was argued on the district court’s record and the
  parties’ briefs. Upon consideration thereof,

        IT IS HEREBY ORDERED, ADJUDGED and DECREED that the district court’s
  judgment is AFFIRMED.

                                                        For the Court:
                                                        Catherine O’Hagan Wolfe,
                                                        Clerk of Court
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  19-3970
  Freeman v. HSBC Holdings PLC


                        United States Court of Appeals
                            for the Second Circuit
                                    August Term 2020
                                 Argued: February 1, 2021
                                 Decided: January 5, 2023
                                       No. 19-3970


                      CHARLOTTE FREEMAN, for the Estate of BRIAN S.
                   FREEMAN, KATHLEEN SNYDER, RANDOLPH FREEMAN,
                     G.F., a minor, I.F., a minor, DANNY CHISM, LINDA
                  FALTER, RUSSELL FALTER, for the Estate of SHAWN O.
                       FALTER, SHANNON MILLICAN, for the Estate of
                 JOHNATHON M. MILLICAN, MITCHELL MILLICAN, BILLY
                   WALLACE, STEFANIE WALLACE, D.W., a minor, C.W,
                   A.W., a minor, TRACIE ARSIAGA, CEDRIC HUNT, SR.,
                   ROBERT BARTLETT, SHAWN BARTLETT, LISA RAMACI,
                    ISABELL VINCENT, CHARLES VINCENT, GWENDOLYN
                  MORIN-MARENTES, for the Estate of STEVE MORIN, JR.,
                    E.M., a minor, AUDREY MORIN, STEVE MORIN, AMY
                   LYNN ROBINSON, FLOYD BURTON ROBINSON, for the
                 Estate of JEREMIAH ROBINSON, DEBORAH NOBLE, for the
                      Estate of CHARLES E. MATHENY, IV, CHARLES E.
                     MATHENY, III, SILVER FARR, PATRICK FARR, for the
                   Estate of CLAY P. FARR, RAYANNE HUNTER, W.H., a
                       minor, T.H., a minor, FABERSHA FLYNT LEWIS,
                     LORENZO SANDOVAL, SR., for the Estate of ISRAEL
                  DEVORA-GARCIA, LORENZO SANDOVAL, JR., H. JOSEPH
                  BANDHOLD, DONALD C. BANDHOLD, NANETTE SAENZ,
                 for the Estate of CARLOS N. SAENZ, JUAN SAENZ, JOHN
                 VACHO, for the Estate of CAROL VACHO, for the Estate
                 of NATHAN J. VACHO, ASHLEY VACHO, JEANETTE WEST,
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              for the Estate of ROBERT H. WEST, SHELBY WEST, DONNA
               ENGEMAN, SUZZETTEE LAWSON, for the Estate of ISAAC
                    S. LAWSON, C.L., a minor, JUDY ANN CRABTREE,
                RONALD WAYNE CRABTREE, DEBRA WIGBELS, RONALD
                  WILLIAM CRABTREE, JUDY HUENINK, SEAN SLAVEN,
                   CHASTITY DAWN SLAVEN, NICOLE LANDON, MISTI
                FISHER, FRED FRIGO, LYNN FOREHAND, LANCE HAUPT,
                   RHONDA HAUPT, TIFANY HAUPT, SABRINA CUMBE,
                   DAVID W. HAINES, DAWN HAINES, C.H., a minor,
              SANGSOON KIM, MICHELLE KIM, SEOP STEVE KIM, for the
              Estate of Jang H. Kim, HELEN FRASER, RICHARD FRASER,
                  for the Estate of DAVID M. FRASER, TRICIA ENGLISH,
              N.W.E., a minor, N.C.E., a minor, A.S.E., a minor, TODD
                 DAILY, for the Estate of SHAWN L. ENGLISH, PHILIP S.
                  FORD, LINDA GIBSON, JOHN GIBSON, DENISE BLOHM,
                JEREMY BLOHM, JOANNE GUTCHER, TRACY ANDERSON,
                JEFFREY ANDERSON, ANASTASIA FULLER, A.F., a minor,
                     ANNE F. HARRIS, PAUL D. HARRIS, HYUNJUNG
              GLAWSON, YOLANDA M. BROOKS, CURTIS GLAWSON, SR.,
                 RYAN SABINISH, ANN CHRISTOPHER, for the Estate of
               KWESI CHRISTOPHER, D.J.F., a minor, AVA TOMSON, for
               the Estate of LUCAS V. STARCEVICH, RICHARD TOMSON,
                 BRADLEY STARCEVICH, GLENDA STARCEVICH, ARIANA
                 REYES, TRENTON STARCEVICH, KAREN FUNCHEON, for
                    the Estate of ALEXANDER J. FUNCHEON, ROBERT
                 FUNCHEON, HOLLY BURSON-GILPIN, for the Estate of
                  JEROME POTTER, NANCY UMBRELL, MARK UMBRELL,
                NANCY and MARK UMBRELL, for the Estate of COLBY J.
               UMBRELL, ILENE DIXON, SHELLEY ANN SMITH, WILLIAM
                   FARRAR, SR., for the Estate of WILLIAM A. FARRAR,
               TONYA K. DRESSLER, ARDITH CECIL DRESSLER, MELISSA
               DRESSLER, ELIZABETH BROWN, for the Estate of JOSHUA
               D. BROWN, MARIAN BROWN, WAYNE BROWN, DANIELLE
              SWEET, for the Estate of RYAN A. BALMER, A.B., a minor,
                    G.B., a minor, DONNA KUGLICS, for the Estate of
                  MATTHEW J. KUGLICS, LES KUGLICS, EMILY KUGLICS,

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               SYLVIA JOHNSON SPENCER, RAYMOND NIGEL SPENCER,
                 SR., JOHN D. LAMIE, PAULA C. BOBB-MILES, for the
              Estate of BRANDON K. BOBB, JOHNNY JAVIER MILES, SR.,
                  J.J.M., JR., a minor, RACQUEL ARNAE BOBB MILES,
              URSULA ANN JOSHUA, BRITTANY MARIONIQUE JOSHUA,
                 ASHLEY GUDRIDGE, MARION CRIMENS, TIMOTHY W.
                 ELLEDGE, CHRISTOPHER LEVI, BRENDA HABSIEGER,
              MICHAEL HABSIEGER, JACOB MICHAEL HABSIEGER, KELLI
                 D. HAKE, for the Estate of CHRISTOPHER M. HAKE,
                DENICE YORK, RUSSEL YORK, JILL HAKE, PETER HAKE,
               G.H., a minor, MARIA E. CALLE, KIM MILLER, WALTER
               BAILEY, CASSANDRA BAILEY, KACEY GILMORE, TERRELL
              GILMORE, JR., MICHELLE KLEMENSBERG, for the Estate of
                LARRY R. BOWMAN, HARRY PICKETT, E.C.R., a minor,
              RACHEL M. GILLETTE, KOUSAY AL-TAIE, for the Estate of
                    AHMED AL-TAIE, ADAM G. STOUT, REBEKAH A.
                  COLDEWE, SCOTT HOOD, PATRICIA SMITH, KATHY
                   STILLWELL, for the Estate of DANIEL CRABTREE,
                MICHAEL SMITH, CHAD FARR, JACQUELINE A. SMITH,
                  R.J.S., a minor, DAVID HARTLEY, for the Estate of
               JEFFREY HARTLEY, LINDA PRITCHETT, ALLEN SWINTON,
              DANIEL FRITZ, TEMIKA SWINTON, MARLYNN GONZALES,
                    T.S., a minor, JULIE CHISM, T.B., a minor, KARI
              CAROSELLA, MARY JANE VANDEGRIFT, WILLIAM PARKER,
               SCOTT LILLEY, PAM MARION, KYSHIA SUTTON, DONNIE
                  MARION, JASON SACKETT, PAULA MENKE, ROBERT
                 CANINE, DANIEL MENKE, S.J.S., a minor, MATTHEW
               MENKE, ADAM WOOD, NICHOLE LOHRING, ROSEMARIE
               ALFONSO, ANNA KARCHER, K.B., a minor, ANASTASIA
                  FULLER, for the Estate of ALEXANDER H. FULLER,
                MICHELLE BENAVIDEZ, for the Estate of KENNITH W.
                 MAYNE, DAN DIXON, for the Estate of ILENE DIXON,
               DANIEL BENAVIDEZ, SR., DAN DIXON, for the Estate of
                 ROBERT J. DIXON, CHRISTINA BIEDERMAN, CYNTHIA
                     DELGADO, DANIEL BENAVIDEZ, JR., KYNESHA
                DHANOOLAL, JENNIFER MORMAN, MERLESE PICKETT,

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                   CHRISTOPHER MILLER, JOHN VANDEGRIFT, ANGIE
              JACKSON, MEGAN MARIE RICE, TRINA JACKSON, NANCY
                 FUENTES, for the Estate of DANIEL A. FUENTES, S.J., a
                   minor, NOALA Fritz, for the Estate of LYLE FRITZ,
                    GREGORY BAUER, NOALA FRITZ, THERESA DAVIS,
                  TIFFANY M. LITTLE, LINDA DAVID, for the Estate of
              TIMOTHY A. DAVID, MICHELLE KLEMENSBERG, MICHAEL
                  DAVID, KOUSAY AL-TAIE, DONNA LEWIS, TIMOTHY
              KARCHER, KENNETH J. DREVNICK, ELIZABETH CHISM, for
                   the Estate of JONATHAN B. CHISM, TONYA LOTTO,
                 TABITHA MCCOY, for the Estate of STEVE A. MCCOY,
                 JERRY L. MYERS, KATHY STILLWELL, THERESA HART,
                 ROBERTO ANDRADE, SR., WAYNE NEWBY, ROBI ANN
               GALINDO, VERONICA HICKMAN, RYANNE HUNTER, for
                     the Estate of WESLEY HUNTER, DAVID EUGENE
                HICKMAN, DEBRA LEVI, DEVON FLETCHER HICKMAN,
                CORTEZ GLAWSON, REBECCA J. OLIVER, LINDA JONES,
              J.L., a minor, ARMANDO FUENTES, WOOD MEGAN, SEAN
                  ELLIOTT, GILBERT ARSIAGA, JR., EDNA LUZ BURGOS,
              ADRIAN MCCANN, ERIK ROBERTS, FRANK LILLEY, N.T., a
                minor, HARRY RILEY BOCK, COLIN ROBERTS, JILL ANN
                BOCK, ROBIN ROBERTS, BRETT COKE, CHASTITY DAWN
              LAFLIN, M.C., a minor, T.M., a minor, MEGHAN PARKER-
               CROCKETT, KERI COTTON, JANET JONES, JULIO FUENTES,
               WESLEY WILLIAMSON, DANIEL C. OLIVER, J.L., a minor,
              TRAVIS GIBSON, DEBBIE BEAVERS, GEORGE J. WHITE, ERIC
              LEVI, JOHNNY WASHBURN, DAN DIXON, DAKOTA SMITH-
                  LIZOTTE, R.N.R., a minor, GEORGE ARSIAGA, JOHN
              MCCULLY, HATHAL K. TAIE, JAMES SMITH, C.F., a minor,
                ANTHONY ALDERETE, AMANDA B. ADAIR, MICHAEL J.
                  MILLER, NICHOLAS BAUMHOER, STEVE MORIN, SR.,
                 KIMBERLEY VESEY, ZACHARY HAKE, CASSIE COLLINS,
                  GEORGE D. WHITE, CARA ROBERTS, M.T., a minor,
                STEPHANIE MCCULLY, T.F., a minor, TERREL CHARLES
                 BARTLETT, CORY SMITH, A.B., a minor, EVAN KIRBY,
                JUDY HUENINK, for the Estate of BENJAMIN J. SLAVEN,

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                 CARROL ALDERETE, B.D., a minor, NANCY FUENTES,
                   JOHN VANDEGRIFT, for the Estate of MATTHEW R.
               VANDEGRIFT, D.J.F., a minor, CYNTHIA DELGADO, for the
                   Estate of GEORGE DELGADO, MACKENZIE HAINES,
                   NATALIA WHITE, CYNTHIA THORNSBERRY, K.W., a
                minor, MEGAN MARIE RICE, for the Estate of ZACHARY
                T. MYERS, R.M., a minor, STEPHANIE GIBSON WEBSTER,
                  CHRISTINA SMITH, DEBBIE SMITH, JEFFREY D. PRICE,
                CASSIE SMITH, HARRY CROMITY, JAMES CRAIG ROBERTS,
                 MARVIN THORNSBERRY, L.T., a minor, SKYLAR HAKE,
                  VIVIAN PICKETT, ANDREW TOMSON, FLORA HOOD,
                 PATRICIA MONTGOMERY, PATRICIA ARSIAGA, for the
                     Estate of JEREMY ARSIAGA, DON JASON STONE,
                  MATTHEW ARSIAGA, ALESIA KARCHER, LAWRENCE
                KRUGER, AUDREY KARCHER, THOMAS SMITH, SHAYLYN
                 C. REECE, ANDREW LUCAS, JOHN SACKETT, SHAULA
                SHAFFER, NOALA FRITZ, for the Estate of JACOB FRITZ,
                 SHYANNE SMITH-LIZOTTE, MEGAN PEOPLE, NATHAN
                 NEWBY, R.M., a minor, TONY GONZALES, KATHERINE
                MCRILL-FELLINI, VICTORIA DENISSE ANDRADE, KRISTY
                   KRUGER, JOEDI WOOD, AUSTIN WALLACE, TAMMY
                VANDERWAAL, ANGELICA ANDRADE, BRIAN NEUMAN,
                   ESTHER WOLFER, SAMANTHA TOMSON, MATTHEW
               LILLEY, BRYAN MONTGOMERY, ANGEL MUNOZ, KEMELY
               PICKETT, MARIAH SIMONEAUX, JAMES CANINE, VANESSA
               CHISM, A.K., a minor, RAYMOND MONTGOMERY, DONNA
               ENGEMAN, for the Estate of JOHN W. ENGEMAN, CAROL
                 KRUGER, NAWAL AL-TAIE, MEGAN SMITH, LEONARD
                WOLFER, TIM LUCAS, DAVID NOBLE, MARSHA NOVAK,
                  EMILY LEVI, TONY WOOD, E.C.R., a minor, DONNA
                  LEWIS, for the Estate of JASON DALE LEWIS, KIERRA
               GLAWSON, ETHAN FRITZ, STEPHANIE HOWARD, RUSSELL
                 C. FALTER, KYNESHA DHANOOLAL, for the Estate of
                  DAYNE D. DHANOOLAL, DOUGLAS KRUGER, L.M., a
                   minor, BRIAN COKE, PRESTON SHANE REECE, JEAN
                 MARIANO, A.L.R., a minor, CASSIE COLLINS, for the

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                       Estate of SHANNON M. SMITH, G.L., a minor, ERIKA
                        NEUMAN, MICHAEL LUCAS, CALVIN CANINE, DIXIE
                       FLAGG, BASHAR AL-TAIE, MARJORIE FALTER, JOLENE
                      LILLEY, VICTORIA PENA ANDRADE, TIFFANY M. LITTLE,
                       for the Estate of KYLE A. LITTLE, ELIZABETH CHISM,
                        TAMARA RUNZEL, K.L., a minor, MARLEN PICKETT,
                          TABITHA MCCOY, SHILYN JACKSON, KIMBERLEE
                      AUSTIN-OLIVER, SYLVIA MACIAS, MERLESE PICKETT, for
                         the Estate of EMMANUEL PICKETT, DAVID LUCAS,

                                           Plaintiffs-Appellants,

                                                      v.

                               HSBC HOLDINGS PLC, HSBC BANK PLC,
                                 HSBC BANK MIDDLE EAST LIMITED,
                               HSBC BANK USA, N.A., BARCLAYS BANK
                                 PLC, STANDARD CHARTERED BANK,
                                  ROYAL BANK OF SCOTLAND, N.V.,
                                 CREDIT SUISSE, BANK SADERAT PLC,
                                JOHN DOES 1–50, COMMERZBANK AG,

                                          Defendants-Appellees. *


                            Appeal from the United States District Court
                               for the Eastern District of New York
                              No. 14-cv-6601, Pamela K. Chen, Judge.




   *   The Clerk of Court is respectfully directed to amend the official case caption as set forth above.

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          Before:       JACOBS, SULLIVAN, Circuit Judges, and BROWN, District Judge. †

          Plaintiffs-Appellants are U.S. service members wounded in terrorist attacks
   in Iraq and the families and estates of service members killed in such attacks. They
   appeal from the dismissal of their claims under the Antiterrorism Act (the “ATA”),
   Pub. L. No. 101-519, 104 Stat. 2250–53 (1990), as amended by the Justice Against
   Sponsors of Terrorism Act (the “JASTA”), Pub. L. No. 114-222, 130 Stat. 852–56
   (2016), against various financial institutions in the United States and abroad
   (the “Banks”). As relevant to this appeal, Plaintiffs allege that the Banks conspired
   with and aided and abetted Iranian entities to circumvent sanctions imposed by
   the United States and channel funds to terrorist groups that killed or injured U.S.
   service members. The district court (Chen, J.) dismissed Plaintiffs’ JASTA
   conspiracy claims primarily because Plaintiffs failed to plausibly plead a direct
   connection between the Banks and the terrorist groups. The district court also
   declined to consider Plaintiffs’ JASTA aiding-and-abetting claims because they
   were raised for the first time in Plaintiffs’ motion for reconsideration.

           Although we disagree with the district court’s primary reason for
   dismissing Plaintiffs’ JASTA conspiracy claims, we AFFIRM the district court’s
   judgment because Plaintiffs failed to adequately allege that the Banks conspired –
   either directly or indirectly – with the terrorist groups, or that the terrorist attacks
   that killed or injured the service members were in furtherance of the alleged
   conspiracy to circumvent U.S. sanctions. We agree with the district court that
   Plaintiffs forfeited their JASTA aiding-and-abetting claims by raising them for the
   first time in a motion for reconsideration.

          Judge Jacobs concurs in a separate opinion.

          AFFIRMED.




   †Judge Gary R. Brown, of the United States District Court for the Eastern District of New York,
   sitting by designation.

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                                     PETER RAVEN-HANSEN, George Washington
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                                     (Gary M. Osen, Ari Ungar, Michael Radine,
                                     Dina Gielchinsky, Aaron A. Schlanger, Osen
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                                     Plaintiffs-Appellants.

                                     ANDREW J. PINCUS, Mayer Brown LLP,
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                                     W. Hamburg, Mayer Brown LLP, New York,
                                     NY, on the brief), for Defendants-Appellees HSBC
                                     Holdings PLC, HSBC Bank PLC, HSBC Bank
                                     Middle East Limited, and HSBC Bank USA, N.A.

                                     Marc R. Cohen, Alex C. Lakatos, Mayer
                                     Brown LLP, Washington, DC, for Defendant-
                                     Appellee Credit Suisse.

                                     Alexis Collins, Cleary Gottlieb Steen &
                                     Hamilton LLP, Washington, DC; Jonathan I.
                                     Blackman, Carmine D. Boccuzzi, Jr., Cleary
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                                     Michael T. Tomaino, Jr., Jeffrey T. Scott,
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                                     Defendant-Appellee Barclays Bank PLC.

                                     Sharon L. Nelles, Andrew J. Finn, Bradley P.
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                                     NY, for Defendant-Appellee Standard Chartered
                                     Bank.

                                     Robert G. Houck, Clifford Chance US LLP,
                                     New York, NY, for Defendant-Appellee Royal
                                     Bank of Scotland, N.V.

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                                         Stephen I. Vladeck, Austin, TX, for Amici
                                         Curiae Law Professors in support of Plaintiffs-
                                         Appellants.

                                         Michael A. Petrino, Jonathan E. Missner, Stein
                                         Mitchell Beato & Missner LLP, Washington,
                                         DC, for Amici Curiae Eight United States
                                         Senators in support of Plaintiffs-Appellants.

                                         Arthur H. Bryant, Bailey & Glasser LLP,
                                         Oakland, CA; Joshua I. Hammack, Bailey &
                                         Glasser LLP, Washington, DC, for Amici
                                         Curiae Retired Generals of the U.S. Armed Forces
                                         in support of Plaintiffs-Appellants.

                                         Marc J. Gottridge, Lisa J. Fried, Benjamin A.
                                         Fleming, Hogan Lovells US LLP, New York,
                                         NY, for Amici Curiae the Institute of
                                         International Bankers, the American Bankers
                                         Association, the Chamber of Commerce of the
                                         United States of America, and the European
                                         Banking      Federation    in    support   of
                                         Defendants-Appellees.



   RICHARD J. SULLIVAN, Circuit Judge:

         Plaintiffs-Appellants – U.S. service members wounded in terrorist attacks in

   Iraq and the families and estates of service members killed in such attacks – appeal

   from a judgment of the district court (Chen, J.) dismissing their claims under the

   Antiterrorism Act (the “ATA”), Pub. L. No. 101-519, 104 Stat. 2250–53 (1990), as



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   amended by the Justice Against Sponsors of Terrorism Act (the “JASTA”), Pub. L.

   No. 114-222, 130 Stat. 852–56 (2016). As relevant to this appeal, Plaintiffs allege

   that Defendants-Appellees, which are U.S. and international financial institutions

   (collectively,   the   “Banks”),     are   liable    under    JASTA’s      conspiracy     and

   aiding-and-abetting provisions, Pub. L. No. 114-222, § 4, 130 Stat. at 854, codified

   at 18 U.S.C. § 2333(d)(2), for helping Iranian banks and institutions circumvent

   U.S. sanctions against Iran. 1 The district court dismissed Plaintiffs’ JASTA

   conspiracy claims primarily because Plaintiffs failed to plausibly plead a direct

   connection between the Banks and the terrorist groups responsible for killing or

   injuring Plaintiffs. The district court also declined to consider Plaintiffs’ JASTA

   aiding-and-abetting claims because they were raised for the first time in Plaintiffs’

   motion for reconsideration.

          Although we disagree with the district court’s primary reason for

   dismissing the Plaintiffs’ JASTA conspiracy claims, we AFFIRM the district

   court’s judgment because Plaintiffs failed to adequately allege that the Banks

   conspired – either directly or indirectly – with the terrorist groups, or that the


   1The Banks include HSBC Holdings PLC, HSBC Bank PLC, HSBC Bank Middle East Limited,
   HSBC Bank USA, N.A. (collectively, “HSBC”); Barclays Bank PLC (“Barclays”); Standard
   Chartered Bank (“Standard Chartered”); Royal Bank of Scotland, N.V. (“RBS”); Credit Suisse; and
   Commerzbank AG (“Commerzbank”).

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   terrorist attacks that killed or injured the service members were in furtherance of

   the conspiracy to circumvent U.S. sanctions. We agree with the district court that

   Plaintiffs forfeited their JASTA aiding-and-abetting claims by raising them for the

   first time in a motion for reconsideration.

                                      I.   BACKGROUND

         In their operative pleading (the “Complaint”), Plaintiffs identify ninety-two

   terrorist attacks – all carried out by Iraqi Shi’a militias – that killed or injured U.S.

   service members, including Plaintiffs. The Complaint alleges that these Iraqi

   militias were trained and armed by U.S.-designated Foreign Terrorist

   Organizations (“FTOs”), including Hezbollah and the Islamic Revolutionary

   Guard Corps (the “IRGC”). According to the Complaint, Hezbollah and the IRGC,

   in turn, were supported with funding and weapons by the Iranian government

   through various state-controlled entities. These Iranian entities included the

   Islamic Republic of Iran Shipping Lines (“IRISL”), a state-owned shipping

   company that Plaintiffs allege has “a long history of facilitating arms shipments

   on behalf of the IRGC,” J. App’x at 373 ¶ 197; the National Iranian Oil Company

   (“NIOC”), a state-owned oil company that provided support to the IRGC –

   including by using its own helicopters to conduct surveillance on U.S. forces and



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   allies along the Iranian border; and Mahan Air, a privately-operated Iranian airline

   that the U.S. Treasury Department designated as a Specially Designated Global

   Terrorist (“SDGT”) in 2011 for transporting personnel, weapons, and goods for

   Hezbollah and the IRGC.

         Plaintiffs allege that, because of the weakness of Iran’s domestic currency,

   the Iranian government relied on access to U.S. dollars to finance its terrorism

   network. Since 1995, the United States has enacted a series of sanctions designed

   to prevent Iran from using U.S. dollars to finance terrorism. See, e.g., Exec. Order

   No. 12,959, 60 Fed. Reg. 24,757 (May 6, 1995). Nevertheless, to avoid crippling

   Iran’s legitimate economic activities, the U.S. government established the so-called

   “U-Turn exemption,” which permitted U.S. banks to process transactions to and

   from Iran so long as (1) non-U.S., non-Iranian banks acted as intermediaries

   between the U.S. banks and Iranian counterparties; (2) none of the Iranian

   counterparties were sanctioned entities; and (3) the payment information was

   transparent, so that the transactions could be readily monitored by U.S. banks and

   regulators. See 31 C.F.R. § 560.516 (1995); see also Kemper v. Deutsche Bank AG, 911




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   F.3d 383, 387–88 (7th Cir. 2018) (describing the U-Turn exemption). 2 Aside from

   limiting Iran’s access to U.S. dollars, the United States also established regulations

   prohibiting trade with Iran involving certain types of military articles, such as

   nuclear weapons, conventional-weapons systems, and dual-use products

   (collectively, the “Iran Trade Regulations”).

          The Complaint alleges two principal types of activity that furthered Iran’s

   financial support of terrorism. First, Plaintiffs allege that the Banks helped conceal

   identifying information from wire transfers to and from several Iranian banks,

   including Bank Saderat PLC (“Saderat”), 3 by (1) “stripping” identifying

   information from the wire transfer messages of the Society for Worldwide

   Interbank Financial Telecommunications (“SWIFT”), the medium used for most

   international money transfers; and (2) using an alternate form of SWIFT message

   that contained less information about the counterparties than the standard

   message used for international money transfers. According to the Complaint,



   2In 2008, the U.S. government revoked the U-Turn exemption because it suspected Iran of using
   the exemption to finance its nuclear-weapons and missile programs. See 73 Fed. Reg. 66,541
   (Nov. 10, 2008).
   3 Saderat was named as a defendant in the Complaint and initially joined this appeal. However,
   Saderat’s attorneys subsequently withdrew from their representation on appeal. On January 10,
   2020, Saderat, as a pro se corporation, was deemed in default of this appeal and was precluded
   from submitting a brief. See Doc. No. 30 (citing Berrios v. N.Y. City Hous. Auth., 564 F. 3d 130,
   132–33 (2d Cir. 2009)).

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   these practices allowed Iranian banks to transfer hundreds of millions of dollars

   to terrorist organizations without detection by U.S. banks and bank regulators.

   Second, Plaintiffs allege that the Banks helped various Iranian entities such as

   IRISL, NIOC, and Mahan Air obtain letters of credit that concealed their identity,

   thereby allowing them to circumvent the Iran Trade Regulations and acquire

   prohibited goods, technologies, and weapons.

         Plaintiffs claim that the Banks undertook these transactions despite being

   aware of, or deliberately indifferent to, the fact that the Iranian banks and entities

   “engaged in money laundering on behalf of a State Sponsor of Terrorism,” J. App’x

   at 347 ¶ 49, and “assisted Iran, the IRGC, IRISL, Mahan Air, Hezbollah, and/or the

   [Iraqi militias] in committing the acts of international terrorism,” id. at 402 ¶ 360.

         On November 10, 2014, Plaintiffs commenced this action under the ATA,

   asserting claims under 18 U.S.C. § 2333(a) on a theory of primary liability. On

   September 28, 2016, Congress passed JASTA, which amended the ATA to permit

   claims against third parties that aided and abetted an act of international terrorism

   or conspired with a person who committed an act of international terrorism. See

   Pub. L. No. 114-222, § 4, 130 Stat. at 854, codified at 18 U.S.C. § 2333(d)(2).




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   Congress made JASTA’s secondary-liability provision retroactive to all cases

   pending at the time of the enactment. See Pub. L. No. 114-222, § 7, 130 Stat. at 855.

         Nevertheless, Plaintiffs did not seek to amend the Complaint after the

   passage of JASTA. Rather, in response to the Banks’ renewed motion to dismiss

   under Rule 12(b)(6) of the Federal Rules of Civil Procedure, Plaintiffs argued that

   JASTA’s secondary liability for conspiracy provided an alternative ground of relief

   for the Complaint’s allegations under section 2333(a). The district court referred

   the motion to Magistrate Judge Cheryl L. Pollak, who recommended denying the

   motion in its entirety. Judge Pollak concluded that with respect to Plaintiffs’

   conspiracy claims, the Complaint adequately alleges that the Banks joined a

   conspiracy to finance and enrich Iranian terror proxies, and that the ninety-two

   terrorist attacks that injured or killed Plaintiffs were both within the scope and

   foreseeable risks of the conspiracy.

         The district court declined to adopt Judge Pollak’s report and

   recommendation, and instead granted the Banks’ motion to dismiss. The district

   court explained that “the plain text of JASTA’s conspiracy[-]liability provision

   requires that a defendant conspire directly with the person or entity that

   committed the act of international terrorism that injured the plaintiff.” Freeman v.



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   HSBC Holdings PLC (Freeman I), 413 F. Supp. 3d 67, 99 n.41 (E.D.N.Y. 2019).

   According to the district court, the Complaint merely alleges that Hezbollah and

   the IRGC, “acting through agents and proxies, are the entities responsible for

   committing the acts of international terrorism that injured Plaintiffs.” Id. at 97–98.

   Finding “not a single allegation in the [Complaint] that any of the [Banks] directly

   conspired with Hezbollah or the IRGC” or “that any of [the Banks’] alleged

   coconspirators, e.g., the Iranian banks, IRISL, NIOC, or Mahan Air, directly

   participated in the attacks that injured Plaintiffs,” the district court concluded that

   “Plaintiffs have failed to adequately allege the threshold requirements” for their

   secondary-liability claims. 4 Id. Plaintiffs then moved for reconsideration, arguing,

   among other things, that the district court failed to analyze Plaintiffs’ claims under

   JASTA’s aiding-and-abetting theory. The district court denied Plaintiffs’ motion,

   explaining that “[n]owhere in any of [Plaintiffs’] submissions” did they assert a

   claim under an aiding-and-abetting theory, even after the passage of JASTA.

   Sp. App’x. at 92. This appeal followed. 5



   4The district court also stated in a footnote “that the [Complaint] fails to sufficiently allege a
   JASTA conspiracy for the same reasons discussed earlier in the primary[-]liability section.”
   Freeman I, 413 F. Supp. 3d at 96 n.36.
   5On appeal, Plaintiffs do not challenge the district court’s dismissal of their primary-liability
   claims.

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                                II.    STANDARD OF REVIEW

         “We review de novo a district court’s dismissal of a complaint under

   Rule 12(b)(6),” Honickman v. BLOM Bank SAL, 6 F.4th 487, 495 (2d Cir. 2021), and

   may affirm the district court’s dismissal “on any ground that finds support in the

   record,” Dettelis v. Sharbaugh, 919 F.3d 161, 163 (2d Cir. 2019). “To survive a motion

   to dismiss, a complaint must contain sufficient factual matter, accepted as true, to

   state a claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662,

   678 (2009) (internal quotation marks omitted).

                                      III.   DISCUSSION

         Plaintiffs challenge the district court’s dismissal of their JASTA conspiracy

   claims and its decision to not consider their JASTA aiding-and-abetting claims.

   We address each challenge in turn.

   A.    Plaintiffs Failed to Plausibly State a JASTA Conspiracy Claim

         The district court dismissed Plaintiffs’ JASTA conspiracy claims primarily

   because the Complaint failed to plausibly allege that the Banks conspired directly

   with the terrorist groups that killed or injured U.S. service members. Although

   we disagree with the district court’s primary reason for dismissal, we affirm its

   decision because Plaintiffs have not adequately alleged that the Banks conspired –

   either directly or indirectly – with the terrorist groups that carried out the attacks,

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   or that the terrorist attacks that killed or injured the service members were in

   furtherance of the Banks’ alleged conspiracy with Iranian entities to circumvent

   U.S. sanctions.

              1. JASTA’s Secondary-Liability Provision Extends Liability to Any
                 Person Who Conspires with a Person Who Commits an Act of
                 International Terrorism

           In 1992, Congress enacted the core provisions of the ATA. See Pub. L.

   No. 102-572, § 1003, 106 Stat. 4521–24 (1992), codified at 18 U.S.C. §§ 2331–2338.

   As relevant to this appeal, the ATA added 18 U.S.C. § 2333(a), which provides:

           Any national of the United States injured in his or her person,
           property, or business by reason of an act of international terrorism, or
           his or her estate, survivors, or heirs, may sue therefor in any
           appropriate district court of the United States and shall recover
           threefold the damages he or she sustains and the cost of the suit,
           including attorney’s fees.

   18 U.S.C. § 2333(a). The ATA further defines “international terrorism” as activities

   that:

           (A) involve violent acts or acts dangerous to human life that are a
           violation of the criminal laws of the United States or of any State . . . ;

           (B) appear to be intended ––

                 (i) to intimidate or coerce a civilian population;

                 (ii) to influence the policy of a government by intimidation or
                 coercion; or



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                (iii) to affect the conduct of a government by mass destruction,
                assassination, or kidnapping; and

         (C) occur primarily outside the territorial jurisdiction of the United
         States.

   Id. § 2331(1)(A)–(C). This original version of the ATA established primary liability

   for those who committed an act of international terrorism. But it did not expressly

   provide for secondary liability – liability for those who aided and abetted or

   conspired with the primary wrongdoers. See Rothstein v. UBS AG, 708 F.3d 82, 98

   (2d Cir. 2013).

         This changed in 2016, when Congress amended the ATA through JASTA.

   See Pub. L. No. 114-222, 130 Stat. at 852–56. The JASTA amendments added a new

   provision, codified at 18 U.S.C. § 2333(d)(2), that explicitly recognized secondary

   liability – aiding-and-abetting and conspiracy – for a claim brought under

   section 2333(a). Specifically, JASTA’s secondary-liability provision states:

         In an action under [section 2333(a)] for an injury arising from an act
         of international terrorism committed, planned, or authorized by an
         organization that has been designated as a foreign terrorist
         organization under section 219 of the Immigration and Nationality
         Act (8 U.S.C. [§] 1189), as of the date on which such act of international
         terrorism was committed, planned, or authorized, liability may be
         asserted as to any person who aids and abets, by knowingly
         providing substantial assistance, or who conspires with the person
         who committed such an act of international terrorism.



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   18 U.S.C. § 2333(d)(2). A “person” who commits an act of international terrorism –

   as used in this provision – can “include corporations, companies, associations,

   firms, partnerships, societies, and joint stock companies, as well as individuals.”

   1 U.S.C. § 1; see also 18 U.S.C. § 2333(d)(1) (incorporating this definition of

   “person”).

         In JASTA’s “Purpose” section, Congress explained that the purpose of the

   amendments was “to provide civil litigants with the broadest possible basis,

   consistent with the Constitution of the United States, to seek relief against persons,

   entities, and foreign countries . . . that have provided material support, directly or

   indirectly, to foreign organizations or persons that engage in terrorist activities

   against the United States.” Pub. L. 114-222 § 2(b), 130 Stat. at 853. Congress also

   took the unusual step of specifying a decision from the D.C. Circuit, Halberstam v.

   Welch, 705 F.2d 472 (D.C. Cir. 1983), as one that provides “the proper legal

   framework for how [civil aiding-and-abetting and conspiracy] liability should

   function in the context of” the ATA as amended by JASTA. Pub. L. 114-222,

   § 2(a)(5), 130 Stat. at 852. As Congress indicated, Halberstam has been recognized

   as a “leading case regarding [f]ederal civil aiding[-]and[-]abetting and conspiracy

   liability, including by the Supreme Court of the United States” and this Court. Id.;



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   see, e.g., Beck v. Prupis, 529 U.S. 494, 503 (2000); Hecht v. Com. Clearing House, Inc.,

   897 F.2d 21, 25 n.3 (2d Cir. 1990).

         Halberstam addressed whether the defendant, Linda Hamilton, could be

   held civilly liable, under a theory of aiding and abetting or as a coconspirator, for

   the killing of Michael Halberstam by Hamilton’s long-term business and romantic

   partner, Bernard Welch. See 705 F.2d at 474. Welch killed Halberstam during a

   burglary – one of many burglaries that Welch had committed over the course of

   five years. See id. But while Hamilton was not present during the burglary, and

   was not even aware of the burglary at the time it took place, she had helped Welch

   fence and manage his inventory of stolen goods over the years and “knew full well

   the purpose of Welch’s evening forays and the means by which she and Welch had

   risen from rags to riches in a relatively short period of time,” “clos[ing] neither her

   eyes nor her pocketbook to the reality of the life she and Welch were living.” Id.

   (alteration and internal quotation marks omitted). One of the primary issues

   before the court in Halberstam was therefore “to what extent . . . [a] secondary

   defendant [can] be liable for another tortious act (murder) committed by the

   primary tortfeasor while pursuing the underlying tortious activity.” Id. at 476.




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         In an opinion by Judge Wald, for a panel that included Judge Bork and

   then-Judge Scalia, the D.C. Circuit held that Hamilton could be held civilly liable

   for Halberstam’s murder, both on a theory of aiding and abetting and as a

   coconspirator. Id. at 487–89. With respect to conspiracy, the court explained that

   the elements required to establish civil liability for a conspiracy are:

         (1) an agreement between two or more persons; (2) to participate in
         an unlawful act, or a lawful act in an unlawful manner; (3) an injury
         caused by an unlawful overt act performed by one of the parties to
         the agreement; (4) which overt act was done pursuant to and in
         furtherance of the common scheme.

   Id. at 477. The court went on to explain that, in contrast to a criminal conspiracy,

   “the agreement in a civil conspiracy does not assume the same importance it does

   in a criminal action,” and that “[p]roof of a tacit, as opposed to explicit,

   understanding is sufficient to show agreement.” Id. As such, a civil conspirator

   “can be liable even if he neither planned nor knew about the particular overt act

   that caused injury, so long as the purpose of the act was to advance the overall

   object of the conspiracy.” Id. at 487.

         The Halberstam court affirmed the district court’s conclusion that Hamilton

   could be held civilly liable for Halberstam’s murder as a coconspirator because

   (1) “Hamilton and Welch agreed to undertake an illegal enterprise to acquire



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   stolen property,” and (2) “Welch’s killing of Halberstam during a burglary was an

   overt act in furtherance of the agreement.” Id. In reaching this conclusion, the

   court emphasized that “Welch was trying to further the conspiracy by escaping

   after an attempted burglary, and he killed Halberstam in his attempt to do so.” Id.

   Because “[t]he use of violence to escape apprehension was certainly not outside

   the scope of a conspiracy to obtain stolen goods through regular nighttime forays

   and then to dispose of them,” the court concluded that Hamilton was civilly liable

   for that violence. Id.

             2. The District Court Erred in Concluding That JASTA Required
                Plaintiffs to Allege that the Banks Conspired Directly with
                Terrorist Organizations

         Applying Halberstam to this case, the district court found that the Complaint

   failed to state a JASTA conspiracy claim because it did not contain “a single

   allegation . . . that any of the [Banks] directly conspired with Hezbollah or the

   IRGC,” the two entities “responsible for committing the acts of international

   terrorism that injured Plaintiffs.” Freeman I, 413 F. Supp. 3d at 98. The district

   court explained that although JASTA added conspiracy liability to the ATA,

   “Congress significantly limited that secondary liability to defendants who

   conspired with” the person who committed an act of international terrorism. Id.

   at 94 n.35. The Banks press this interpretation of section 2333(d)(2) on appeal,

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   arguing that the phrase “conspires with” demands “that the defendant interact

   with the terrorist attacker.” Banks’ Br. at 14–15. We conclude that this narrow

   construction of section 2333(d)(2) is unsupported by the text and structure of

   JASTA and runs counter to basic principles of conspiracy liability.

         First, the word “directly” is absent from JASTA. The text of the statute

   plainly provides that “liability may be asserted as to any person . . . who conspires

   with the person who committed such an act of international terrorism,” without

   requiring a direct connection between the Banks and terrorist attackers. 18 U.S.C.

   § 2333(d)(2) (emphasis added). The Banks attempt to shoehorn the “proximity

   requirement” into the word “with.” Banks’ Br. at 18. But from a linguistic

   standpoint, it is difficult to attach great significance to Congress’s use of the

   preposition “with” after “conspires.” In the context of section 2333(d)(2), the terms

   “aids” and “abets” are both transitive verbs, which do not require a preposition to

   link them to the phrase “the person who committed such an act of international

   terrorism.” See Bryan A. Garner, Garner’s Modern English Usage 1035 (4th ed. 2016).

   By contrast, the term “conspires” – as used in the statute – is an intransitive verb,

   after which a preposition is necessary. See id. at 1034. The word “with,” therefore,

   does not circumscribe the scope of JASTA conspiracy liability; it is simply the



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   natural way of linking the verb “conspires” to the remainder of the text. As

   Justice Cardozo observed nearly a century ago, “[i]t is impossible in the nature of

   things for a man to conspire with himself,” since one necessarily conspires with

   other people. Morrison v. California, 291 U.S. 82, 92 (1934).

         Second, under well-settled principles of conspiracy law, “[t]here is no

   requirement that each member of a conspiracy conspire directly with every other

   member of it, or be aware of all acts committed in furtherance of the conspiracy,

   or even know every other member.” United States v. Rooney, 866 F.2d 28, 32 (2d Cir.

   1989) (citation omitted). Indeed, a standard formulation of the jury instruction for

   such crimes makes clear that “to become a member of the conspiracy, the

   defendant need not have known the identities of each and every other member,

   nor need he have been apprised of all of their activities.” 2 Leonard B. Sand et al.,

   Modern Federal Jury Instructions – Criminal ¶ 19.01 (2021). That is also the law of

   this Circuit. See United States v. Labat, 905 F.2d 18, 21 (2d Cir. 1990) (“The defendant

   need not know the identities of all of the other conspirators.”).

         By way of example, in United States v. Bicaksiz, 194 F.3d 390 (2d Cir. 1999),

   we upheld the sufficiency of a defendant’s conviction for conspiring to commit a

   murder for hire, even though the defendant never met his coconspirators and



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   coordinated through an intermediary who turned out to be a non-conspiring

   government informant.      See id. at 400.    We explained that even though the

   defendant and one of his coconspirators “were unaware of each other’s identity,

   there [was] sufficient evidence in the record for the jury to have reasonably found

   that each was aware of an unknown participant playing an assigned and

   understood role in furtherance of the criminal venture.” Id.

         This same rationale applies to a JASTA conspiracy claim. So long as the

   defendant and the “person” – which can include an entity or association – carrying

   out the act of international terrorism are part of a common conspiracy, there is

   nothing in the text or structure of JASTA requiring that they meet, communicate,

   or interact for the defendant to be held liable for his coconspirator’s actions. This

   conclusion is further reinforced by the fact that the elements of civil conspiracy

   articulated in Halberstam – “(1) an agreement between two or more persons; (2) to

   participate in an unlawful act . . . ; (3) an injury caused by an unlawful overt act

   performed by one of the parties to the agreement; (4) which overt act was done

   pursuant to and in furtherance of the common scheme” – make no mention of

   directness. 705 F.2d at 477.




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         The Concurrence agrees with the district court and would hold that JASTA

   requires a direct link between the Banks and the terrorist groups. After surveying

   statutes in the United States Code that contain the phrases “conspire with” or

   “conspire to,” the Concurrence observes that “JASTA stands alone as the only

   statute that prohibits defendants from conspiring ‘with’ a specific person or

   category of persons.” Concurrence at 3.

         But this is a distinction without a difference. The fact that JASTA limits its

   reach to conspiracies that include a specified “category of persons” does not

   suggest that a defendant must interact directly with such “category of persons.” Id.

   Again, “directly” is nowhere to be found on the face of the statute, and

   well-established principles of conspiracy law do not require “that each member of

   a conspiracy conspire directly with every other member of it.” Rooney, 866 F.2d

   at 32. Indeed, by ignoring JASTA’s text and black-letter conspiracy law, the

   Concurrence’s narrow construction would absolve terrorist facilitators from

   liability as long as they interact with terrorist perpetrators through an

   intermediary. That result would be a drastic distortion of JASTA, as Congress

   made clear in enacting the statute that its purpose was to provide civil litigants

   with the “broadest possible basis . . . to seek relief against persons, entities, and



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   foreign countries . . . that have provided material support, directly or indirectly, to

   foreign organizations or persons that engage in terrorist activities against the

   United States.” Pub. L. 114-222, § 2(b), 130 Stat. at 853 (emphasis added). 6

          We therefore see no reason to conclude that a JASTA conspiracy claim

   requires a direct connection between the defendant and the person who commits

   an act of international terrorism. To hold otherwise would require us to read

   “directly” into the plain text of the statute, defy well-established principles of

   conspiracy law, and risk shielding avowed terrorists and terrorist facilitators from

   liability simply because they did not have direct dealings with those who

   detonated explosive devices – something that is clearly inconsistent with JASTA’s

   stated purpose.




   6Contrary to the Banks’ position in their Rule 28(j) letter, this Court’s opinion in Kaplan v. Lebanese
   Canadian Bank, 999 F.3d 842 (2d Cir. 2021), does not compel us to adopt the district court’s narrow
   reading of JASTA. While it is true that Kaplan makes a passing reference to the word “with” in
   assessing the language of the aiding-and-abetting provision of section 2333(d)(2), id. at 855, Kaplan
   did not involve a JASTA conspiracy claim. To the extent that Kaplan purported to interpret the
   term “conspires with,” it was pure dicta. Moreover, Kaplan recognized that JASTA has the
   statutorily codified purpose of “provid[ing] civil litigants with the broadest possible basis” to
   seek damages against organizations responsible for “terrorist activities against the United States,
   whether directly or indirectly.” Id. (internal quotation marks omitted) (citing JASTA, Pub. L.
   No. 114-222, § 2(b), 130 Stat. at 853).        Surely, that purpose was not limited to the
   aiding-and-abetting prong of section 2333(d)(2).

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             3. Plaintiffs Failed to Allege That the Banks Conspired with Terrorist
                Organizations

         Although the district court erred in requiring Plaintiffs to allege a “direct”

   connection between the Banks and the terrorist organizations that perpetrated the

   acts of violence in question, we nevertheless find that Plaintiffs have not

   sufficiently alleged a JASTA conspiracy claim because the Complaint is devoid of

   any fact suggesting that the Banks conspired – either directly or indirectly – with the

   terrorist perpetrators. As discussed, to assert a conspiracy claim under JASTA, a

   plaintiff must plead “an agreement between two or more persons . . . to participate

   in an unlawful act” and an “injury caused by an unlawful overt act performed by

   one of the parties to the agreement.” Halberstam, 705 F.2d at 477 (emphasis added).

   While courts may “infer an agreement from indirect evidence in most civil

   conspiracy cases,” id. at 486, a complaint must nonetheless allege that the

   coconspirators were “pursuing the same object,” id. at 487; see also N. Am. Soccer

   League, LLC v. U.S. Soccer Fed’n, Inc., 883 F.3d 32, 39 (2d Cir. 2018) (“Proof of a

   conspiracy” requires “direct or circumstantial evidence that reasonably tends to

   prove a conscious commitment to a common scheme designed to achieve an

   unlawful objective.” (alteration and internal quotation marks omitted)); United

   States v. Parker, 554 F.3d 230, 234 (2d Cir. 2009) (“[U]nless at least two persons have


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   a shared purpose or stake in the promotion of an illegal objective, there is no

   conspiracy.”); Int’l Distrib. Ctrs., Inc. v. Walsh Trucking Co., 812 F.2d 786, 793 (2d Cir.

   1987) (“[C]onspirators [must have] a unity of purpose or a common design and

   understanding.”).

          Here, the Complaint fails to allege that the Banks and the terrorist groups

   shared any “common intent.” Halberstam, 705 F.2d at 480. As to the Banks, the

   Complaint states that they “shared the common goal of . . . providing Iran and the

   Iranian [b]ank[s] . . . the ability to illegally transfer billions of dollars (undetected)

   through the United States.” J. App’x at 398 ¶ 344. With respect to the terrorist

   groups, the Complaint asserts that they “actively engaged in planning and

   perpetrating the murder and maiming of hundreds of Americans in Iraq.” Id.

   at 403 ¶ 359. Nowhere in the Complaint, however, do Plaintiffs plead that the

   Banks intended to kill or injure U.S. service members in Iraq, or that the terrorist

   groups agreed to help the Banks and Iranian entities evade U.S. sanctions. In the

   absence of any allegation that the Banks and the terrorist groups “engaged in a

   common pursuit,” Halberstam, 705 F.2d at 481, we cannot identify “an[y]

   agreement” that could form the basis of a JASTA conspiracy between the Banks

   and the terrorist groups, whether they conspired directly or indirectly with one



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   another, id. at 477; see also Bernhardt v. Islamic Republic of Iran, 47 F.4th 856, 873

   (D.C. Cir. 2022) (holding that “Bernhardt’s conspiracy claim [against HSBC] is

   inadequate” because “[t]he complaint states that HSBC was trying to make

   substantial profits by evading sanctions, whereas al-Qaeda sought to terrorize the

   U.S. into retreating from the world stage” (internal quotation marks omitted)).

            4. Plaintiffs Likewise Failed to Allege an Overt Act in Furtherance of
               the Common Scheme

         Aside from Plaintiffs’ failure to adequately allege an agreement between the

   Banks and the terrorist groups, we also cannot find that the ninety-two terrorist

   attacks alleged in the Complaint furthered a conspiracy in which the Banks were

   participants. Under Halberstam, a plaintiff asserting a civil conspiracy claim must

   adequately plead that their injuries were caused by “an unlawful overt act” done

   “in furtherance of the [coconspirators’] common scheme.” Halberstam, 705 F.2d

   at 477. In this case, the Complaint defines “the Conspiracy” as “six Western

   international banks . . . knowingly conspir[ing] with Iran and its banking

   agents . . . to evade U.S. economic sanctions, conduct illicit trade-finance

   transactions,    and     disguise     financial    payments       to    and     from

   U.S. dollar-denominated accounts.” J. App’x at 335 ¶ 6. The Complaint also

   alleges that Plaintiffs were “killed and injured by reason of acts of international


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   terrorism perpetrated by Iran through its agents.” Id. at 403 ¶ 361. Notably absent

   from the Complaint, however, are allegations of ways by which the “acts of

   international terrorism” furthered “the Conspiracy.”           Rather, the Complaint

   alleges only that “[t]he Conspiracy was . . . a significant factor in the chain of events

   leading to Plaintiffs’ deaths and injuries,” id. at 402 ¶ 360, without explaining how

   the terrorist attacks “advance[d] the overall object of the conspiracy” – the evasion

   of U.S. sanctions against Iran, Halberstam, 705 F.2d at 487.

         On appeal, Plaintiffs do not contend that the ninety-two terrorist attacks

   furthered the conspiracy to evade U.S. sanctions; instead, they argue that civil

   conspiracy liability under Halberstam reaches not only acts “in furtherance of” the

   conspiracy but also any conduct that might “foreseeably result from it.” Reply Br.

   at 19. The crux of Plaintiffs’ argument is that, because the Iraqi militias’ “terror

   campaign” was “the foreseeable result” of the Banks’ conspiracy with Iranian

   entities to circumvent U.S. sanctions, the Banks should be liable for the terrorist

   attacks. Id. at 19–20. In making this argument, Plaintiffs rely principally on

   American Family Mutual Ins. Co. v. Grim, 201 Kan. 340 (1968), a case discussed in

   Halberstam, 705 F.2d at 482–83.




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         The facts in Grim are certainly a far cry from those at issue here. In Grim, a

   boy broke into a local church with three companions at night to search for soft

   drinks. 201 Kan. 341. Because the doors to the kitchen were locked, several of the

   boys attempted to gain entry through the attic. Id. at 341–42. While the boy in

   question remained in a storeroom behind the sanctuary, two of his companions

   proceeded to the attic, but failed to completely extinguish the torches they used to

   illuminate their way. Id. at 342–43. After the boys obtained the soft drinks and

   left, the church caught fire from the torches and was severely damaged. Id.

   at 343–44. Although the defendant in question neither entered the attic, knew

   about the torches, nor was near the church when the fire started, id., the court

   nonetheless found him liable for the fire damage, “invoking both civil conspiracy

   and aiding-abetting theories,” Halberstam, 705 F.2d at 483.       Drawing on the

   restatement’s section on aiding and abetting, the court pointed out that “a person

   who encourages another to commit a tortious act may also be responsible for other

   foreseeable acts done by such other person in connection with the intended act.”

   Grim, 201 Kan. at 346. The court also relied on a theory of conspiracy, reasoning

   that despite the boy’s lack of involvement with the torches, he was liable for the




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   fire because “the torches were used in the four boys’ attempt to carry out their

   original unlawful plan.” Id. at 345.

         As Plaintiffs acknowledge, the Halberstam court identified Grim as an

   example of “judicial merger” of civil conspiracy and aiding and abetting,

   Halberstam, 705 F.2d at 482; see also Reply Br. at 19, without “distinguish[ing] the

   elements and proof of civil conspiracy and aiding-abetting,” Halberstam, 705 F.2d

   at 489. But the Halberstam court noted that “[t]here is a qualitative difference

   between proving an agreement to participate in a tortious line of conduct [– in the

   case of conspiracy –] and proving knowing action that substantially aids tortious

   conduct [– in the case of aiding and abetting].” Id. at 478. The Halberstam court

   therefore found “it important to keep the distinctions [between conspiracy and

   aiding and abetting] clearly in mind” because “the distinctions can make a

   difference.” Id.; see also id. at 489 (“Our effort to distinguish the elements and proof

   of civil conspiracy and aiding-abetting may appear formalistic, but it is motivated

   by our desire to move cautiously in cases like this one.”).

         Keeping the distinctions “clearly in mind,” id. at 483, we are unpersuaded

   by Plaintiffs’ contention that civil conspiracy liability reaches any coconspirator

   conduct that “foreseeably” results from the conspiracy, Reply Br. at 19. Plaintiffs



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   put great emphasis on the fact that foreseeability is discussed in Halberstam. See

   id. (citing Halberstam, 705 F.2d at 482–83).        But that discussion pertains to

   aiding-and-abetting liability – not conspiracy. See, e.g., Halberstam, 705 F.2d at 483

   (“[T]he principle to apply in assigning liability under the aiding-abetting theory

   was: ‘[a] person who encourages another to commit a tortious act may also be

   responsible for other foreseeable acts done by such other person in connection with

   the intended act.’” (quoting Grim, 201 Kan. at 346) (emphasis added)); id. at 485

   (“As for the second issue in aiding-abetting, the extent of liability, the test from Cobb

   and Grim appears to be that a person who assists a tortious act may be liable for

   other reasonably foreseeable acts done in connection with it.” (emphasis added));

   id. at 488 (“Similarly, under an aiding-abetting theory, it was a natural and foreseeable

   consequence of the activity Hamilton helped Welch to undertake.” (emphasis

   added)).   Given Halberstam’s repeated admonition to keep the two theories

   separate, we see no reason to inject the foreseeability requirement pertinent to

   aiding-and-abetting liability into the “in-furtherance-of” requirement that exists

   for conspiracy.

         Halberstam’s requirement of an overt act to further the “overall object” of the

   conspiracy, 705 F.2d at 487 (emphasis added), is grounded in the very core of



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   conspiracy liability, which is “an agreement between the defendant and the

   primary wrongdoer to commit a wrong,” Restatement (Third) of Torts: Liability

   for Economic Harm § 27 (Am. L. Inst. 2020) (emphasis added). The mere fact that

   certain conduct may be the “natural and foreseeable consequence” of the

   conspiracy is therefore not enough to meet the in-furtherance-of requirement at

   the heart of a conspiracy claim. Halberstam, 705 F.2d at 488. For instance, in a

   conspiracy between A and B to smuggle firearms into the United States, it may

   well be foreseeable to A that B might use the smuggled firearms to commit a

   robbery; but, without more, there is no basis for concluding that B’s use of the

   firearm in the robbery would somehow further A and B’s firearms-smuggling

   conspiracy. To hold a defendant liable for a coconspirator’s actions merely

   because they are foreseeable – even though wholly detached from the shared

   conspiratorial plan – would stretch the concept of civil conspiracy too far beyond

   its origin. See Halberstam, 705 F.2d at 484–85 (explaining that the overt act causing

   the plaintiff’s injury must be “in furtherance of the agreement”); Bernhardt, 47 F.4th

   at 873 (“[I]t [is not] plausible to infer that an attack on a secret CIA base in

   Afghanistan would further HSBC’s alleged objective of maximizing profits

   through the evasion of U.S. sanctions.”); Adams v. Alcolac, Inc., 974 F.3d 540, 545



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   (5th Cir. 2020) (“The question is not whether the plaintiffs’ battery was a

   foreseeable result of the alleged conspiracy but whether the battery was done in

   pursuance of the common purpose of the conspiracy.” (internal quotation marks

   omitted)).

         When read in context, Halberstam makes clear that a coconspirator’s overt

   act must further the objects of a conspiracy for another coconspirator to be held

   civilly liable for that act.   After upholding “the district court’s finding that

   Hamilton and Welch agreed to undertake an illegal enterprise to acquire stolen

   property,” the court explained that “[t]he only remaining issue, then, is whether

   Welch’s killing of Halberstam during a burglary was an overt act in furtherance of

   the agreement.”     Halberstam, 705 F.2d at 487 (emphasis added).       The court

   concluded that it was, noting that “a conspirator can be liable even if he neither

   planned nor knew about the particular overt act that caused injury, so long as the

   purpose of the act was to advance the overall object of the conspiracy.”        Id.

   (emphasis added). In this case, Plaintiffs simply have not explained how the

   ninety-two terrorist attacks furthered the Banks’ conspiracy with Iranian entities

   to circumvent U.S. sanctions. We therefore affirm the district court’s dismissal of

   Plaintiffs’ JASTA conspiracy claims also on this ground. See Bernhardt, 47 F.4th



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   at 873 (holding that Bernhardt “fail[ed]to allege an overt act in furtherance of a

   conspiracy,” as “HSBC’s sanctions evasion . . . is not . . . an overt act of

   international terrorism or the source of Bernhardt’s injury under the ATA.”).

   B.    Plaintiffs Forfeited Their JASTA Aiding-and-Abetting Claims

         Plaintiffs also urge us to consider their JASTA aiding-and-abetting claims,

   which they raised for the first time in their motion for reconsideration. As a

   general rule, we “will not consider an argument on appeal that was raised for the

   first time below in a motion for reconsideration.” Off. Comm. of Unsecured Creditors

   of Color Tile, Inc. v. Coopers & Lybrand, LLP, 322 F.3d 147, 159 (2d Cir. 2003). While

   we have discretion to consider untimely arguments, we frequently decline to do

   so when the party asserting the argument presents no persuasive excuse. See, e.g.,

   Phillips v. City of New York, 775 F.3d 538, 544 (2d Cir. 2015); Sompo Japan Ins. Co. of

   Am. v. Norfolk S. Ry. Co., 762 F.3d 165, 188–19 (2d Cir. 2014); Analytical Survs., Inc.

   v. Tonga Partners, L.P., 684 F.3d 36, 52–53 (2d Cir. 2012). In this case, Plaintiffs have

   not articulated any excuse that would warrant the exercise of our discretion.

   Instead, Plaintiffs cherry-pick certain statements made by the district court during

   a hearing to show that they did not forfeit their aiding-and-abetting claims. But

   conveniently omitted from Plaintiffs’ excerpt of the transcript are the following

   remarks from the district court:

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         Nowhere in any of your submissions have you actually used the
         words, [“]We are alleging aiding[-]and[-]abetting liability under
         JASTA,[”] and even in your briefing now, you simply say that one of
         the elements is met, namely, a general awareness of the terrorist
         activities of some of these entities that they provided banking services
         for[.] [B]ut . . . I find it a little disingenuous, to be perfectly frank,
         because you never declared in this case that you were advancing an
         aiding[-]and[-]abetting theory.

   Sp. App’x at 92–93. The district court therefore emphatically rejected Plaintiffs’

   suggestion that they had raised their aiding-and-abetting arguments prior to the

   motion for reconsideration or that it ever considered them. The district court’s

   conclusion is also supported by the record: Plaintiffs never asserted JASTA

   aiding-and-abetting liability in their opposition to the Banks’ motion to dismiss or

   in their response to the Banks’ objections to the Report and Recommendation,

   despite ample opportunity to do so. See Dist. Ct. Doc. Nos. 125 at 26, 31–32; 183

   at 2–21.

         Plaintiffs point us to the Supreme Court’s decision in Johnson v. City of

   Shelby, 574 U.S. 10, 12 (2014), to suggest that “the [Complaint] can be sustained on

   any legal theory that its allegations, fairly construed, support.” Reply Br. at 21.

   But this case hardly resembles Johnson, in which the plaintiffs had simply failed to

   identify 42 U.S.C. § 1983 in an action asserting violations of their constitutional

   rights. Johnson, 574 U.S. at 10. Here, the Complaint does not merely articulate an

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   “imperfect statement of the legal theory supporting the claim asserted,” id. at 11;

   it asserts only a conspiracy theory, with no reference to aiding and abetting

   whatsoever, see generally J. App’x at 318–927. Plaintiffs’ subsequent briefs before

   the district court do the same. See, e.g., Dist. Ct. Doc. No. 125. Indeed, Plaintiffs

   themselves concede that they did not assert a claim under an aiding-and-abetting

   theory until they commenced a second lawsuit in 2018. See Reply Br. at 21 n.21

   (“[C]laims for aiding and abetting were first pleaded as such in Freeman [v. HSBC

   Holdings PLC (Freeman II), No. 18-cv-7359 (PKC) (E.D.N.Y. 2018)].”). The fact that

   Plaintiffs ultimately filed an entirely separate action asserting JASTA

   aiding-and-abetting liability only reinforces the fact that they failed to raise those

   arguments here.

         On this record, we find that the district court acted within its discretion in

   declining to consider Plaintiffs’ untimely JASTA aiding-and-abetting claims. We

   also decline to do so on appeal.

                                   IV.    CONCLUSION

         Although we disagree with the district court’s conclusion that a JASTA

   conspiracy claim requires a direct connection between the defendant and the

   person who commits an act of international terrorism, we AFFIRM the district



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   court’s judgment because Plaintiffs failed to adequately allege that the Banks

   conspired either directly or indirectly with the terrorist groups, or that the terrorist

   attacks that killed or injured U.S. service members furthered the Banks’ conspiracy

   with Iranian entities to circumvent U.S. sanctions. We agree with the district court

   that Plaintiffs forfeited their aiding-and-abetting claims by raising them for the

   first time in a motion for reconsideration.




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 1   DENNIS JACOBS, Circuit Judge, concurring:

 2          The majority opinion observes that JASTA does not require a direct

 3   relationship between the Banks and the terrorist attackers. This observation is

 4   dicta because, as we all agree, it does not affect the result. I would let the dicta

 5   pass, except that it is wrong.


 6          JASTA requires that a defendant conspire “with the person who

 7   committed” acts of terrorism. 18 U.S.C. § 2333(d)(2) (emphasis added). That

 8   intimate little preposition requires that there be a direct link between a defendant

 9   bank and a terrorist.


10          The use of “with” is particular, and unusual. The United States Code is

11   full of statutes that sweep up defendants who “conspire[] to” commit certain

12   acts, without reference to the person or category of persons with whom the

13   defendant must conspire. Examples are in the margin. 1 The phrase “conspires

14   with” appears in that Code far less often. 2 Where it does appear, the object of the


     1See, e.g., 18 U.S.C. § 115(a)(2) (“Whoever assaults, kidnaps, or murders, or attempts or
     conspires to kidnap or murder . . . shall be punished as provided in subsection (b).”
     (emphasis added)); 18 U.S.C. § 832(c) (“Whoever without lawful authority develops,
     possesses, or attempts or conspires to develop or possess a radiological weapon . . . shall be
     imprisoned for any term of years or for life.” (emphasis added)).

     2By my count, the phrase “conspires to” appears 125 times in the United States Code, while the
     phrase “conspires with” appears only 19 times.
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 1   preposition “with” is not particular: that is, the conspirator is prohibited from

 2   conspiring with anybody at all. See, e.g., 18 U.S.C. § 956(a)(1) (“Whoever, within

 3   the jurisdiction of the United States, conspires with one or more other persons . . . to

 4   commit . . . the offense of murder, kidnapping, or maiming [overseas] . . . shall . .

 5   . be punished as provided in subsection (a)(2).” (emphasis added)); 18 U.S.C. §

 6   1594(c) (“Whoever conspires with another to violate section 1581 . . . shall be

 7   punished in the same manner as a completed violation of such section.”

 8   (emphasis added)).


 9         The requirement that the defendant conspire “with another” or “with one

10   or more other persons” does not amount to a limitation because “[i]t is

11   impossible in the nature of things for [one] to conspire with [one]self.” Morison

12   v. California, 291 U.S. 82, 92 (1934). Rather, these statutes prohibit conspiracy in

13   its broadest terms, whereby each member must conspire directly with another

14   member of the conspiracy, but not necessarily “with every other member of it.”

15   United States v. Rooney, 866 F.2d 28, 32 (2d Cir. 1989). Application of these




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 1   statutes does not depend on whether the defendant conspires directly with any

 2   defined person. “With” requires a direct linkage, even if it is promiscuous. 3


 3          So far as I can tell, JASTA stands alone as the only statute that prohibits

 4   defendants from conspiring “with” a specific person or category of persons: “the

 5   person who committed such an act of international terrorism.” 18 U.S.C. §

 6   2333(d)(2).


 7          This substantive and grammatical difference between JASTA and other

 8   statutes must be given meaning. See Marx v. General Revenue Corp., 568 U.S.

 9   371, 384 (2013) (“Finally, the language in § 1692k(a)(3) sharply contrasts with

10   other statutes in which Congress has placed conditions on awarding costs to

11   prevailing defendants.”); Orff v. United States, 545 U.S. 596, 604 (2005)(“Our

12   conclusion draws force from . . . the broader phrasing of [other] statutes . . . .”);

13   H.J. Inc. v. Northwestern Bell Telephone Co., 492 U.S. 229, 245 (1989)

14   (“Moreover, Congress’ approach in RICO can be contrasted with its decision to

15   enact explicit limitations to organized crime in other statutes.”).




     3The Majority acknowledges that in Kaplan v. Lebanese Canadian Bank, 999 F.3d 842 (2d Cir.
     2021) we emphasized that “JASTA states that to be liable for conspiracy a defendant would
     have to be shown to have ‘conspire[d] with’ the principal,” id. at 855.

                                                  3
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1         The only reasonable reading of JASTA is that it requires proof of a direct

2   link between a defendant bank and a terrorist. A holding on that issue must

3   await a case in which it affects the outcome.




                                             4
